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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                            Chapter 11

    WOODBRIDGE GROUP OF COMPANIES, LLC,                               Case No. 17-12560 (BLS)
    et al.,1
                                                                      (Jointly Administered)
                            Remaining Debtors.

    MICHAEL GOLDBERG, as Liquidating Trustee                          Adv. Proc. Case Nos. (SEE EXHIBIT 1)
    of the Woodbridge Liquidation Trust, successor in
    interest to the estates of Woodbridge Group of
    Companies, LLC, et al.,

                                     Plaintiff,

    v.

    (SEE EXHIBIT 1 ATTACHED HERETO),

                                     Defendants

    WOODBRIDGE LIQUIDATION TRUST,                                     Adv. Proc. Case No. 19-50695 (BLS)

                                  Plaintiff,

    v.

    DANE R. ROSEMAN, a/k/a DAYNE R.
    ROSEMAN; PRECISE INVESTMENT GROUP,
    LLC,

                                     Defendants.

                                           AFFIDAVIT OF SERVICE

STATE OF OHIO                       )
                                    ) ss
COUNTY OF FRANKLIN                  )



1
         The Remaining Debtors and the last four digits of their respective federal tax identification number are as
follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
(0172). The Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California
91423.
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I, Andrea Speelman, being duly sworn, depose and state:

1.     I am a Case Manager with Epiq Class Action & Claims Solutions, Inc.,2 the claims and

noticing agent in the above-captioned proceeding. Our business address is 5151 Blazer Parkway,

Suite A, Dublin, Ohio 43017.

2.     On February 7, 2020, at the direction of Pachulski Stang Ziehl & Jones LLP (“Pachulski

Stang”), and Klee, Tuchin, Bogdanoff & Stern LLP (“Klee Tuchin”), Counsel to the Woodbridge

Liquidation Trust, I caused a true and correct copy of the Notice of Agenda of Matters Scheduled

for February 11, 2020 at 10:00 a.m. (Prevailing Eastern Time) (“Notice of Hearing”) [Docket

No. 4365] to be served by facsimile on the parties identified on Exhibit A annexed hereto (Master

Service List and Notice of Appearance Parties with facsimile numbers), and by e-mail on the

parties identified on Exhibit B annexed hereto (Master Service List and Notice of Appearance

Parties with e-mail addresses).3

3.     On February 7, 2020, also at the direction of Pachulski Stang and Klee Tuchin, I caused a

true and correct copy of the Notice of Hearing to be served by e-mail on the parties identified on

Exhibit C (the “Defendants” with e-mail addresses), and by first class mail on the parties identified

on Exhibit D (the “Defendants” without e-mail addresses).4

4.     On February 10, 2020, also at the direction of Pachulski Stang and Klee Tuchin, I caused

a true and correct copy of Amended Notice of Agenda of Matters Scheduled for February 11,

2020 at 10:00 a.m. (Prevailing Eastern Time) (“Amended Notice of Hearing”) [Docket No.

4366] to be served by facsimile on the parties identified on Exhibit A annexed hereto (Master


2
       Epiq Class Action & Claims Solutions, Inc. acquired Garden City Group, LLC on June 15, 2018.
3
       These parties on Exhibit B include a Notice of Appearance party who has consented to email service only
       pursuant to Del. Bankr. L.R. 2002-1(d) and 5005-4.
4
       The envelopes used for service on the parties in Exhibits D & E included a legend which stated: “Important
       Legal Documents Enclosed: Please direct a copy of the contents of this envelope to the President,
       Managing or General Agent.”
                                                       2
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Service List and Notice of Appearance Parties with facsimile numbers), and by e-mail on the

parties identified on Exhibit B annexed hereto (Master Service List and Notice of Appearance

Parties with e-mail addresses).

5.     On February 10, 2020, also at the direction of Pachulski Stang and Klee Tuchin, I caused

a true and correct copy of the Amended Notice of Hearing to be served by e-mail on the parties

identified on Exhibit C (the “Defendants” with e-mail addresses), and by first class mail on the

parties identified on Exhibit E (the “Defendants” with failed or without e-mail addresses).




                                                    /s/ Andrea Speelman
                                                    Andrea Speelman

Sworn to before me this 12th day of
February, 2020


/s/ Leighton Smith
Leighton Smith
Notary Public, State of Ohio
Commission Expires: March 21, 2024




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                                              EXHIBIT 1
                                       List of Adversary Cases

                                    Defendant(s)                                    Case No.
Sunwest Trust, Inc. as Custodian for Donald Balcom IRA, Donald Balcom             19-50296
Cary Baskin, Mary Baskin                                                          19-50297
Sal Di Mercurio 2003 Irrevocable Trust Dated 09/09/03, Sal Di Mercurio            19-50298
Thomas Furman                                                                     19-50299
Stefan Kolosenko                                                                  19-50301
Paul & Colleen McIntyre Joint Tenants with Rights of Survivorship                 19-50302
Ascensus, LLC d/b/a Provident Trust Group, Custodian for the Benefit of Steven    19-50303
Mizel Roth IRA, Steven Mizel
Paula Rinkovsky                                                                   19-50304
Ascensus, LLC d/b/a Provident Trust Group, Custodian for the Benefit of Richard   19-50305
J. Walters IRA, Richard J. Walters
Alexander S. Aduna, Emma R. Aduna                                                 19-50307
Sylvan R. Jutte, Jeannette E. Jutte                                               19-50308
Brian D. Korkus, Robin L. Korkus                                                  19-50309
Russell Bullis, Betsy Bullis                                                      19-50310
Anne Manoogian, Edward Manoogian                                                  19-50311
Mary M. Noyes, Gale E. Noyes                                                      19-50312
Darrell Sandison, Mattie Sandison                                                 19-50313
Delton Christman, Jean Christman                                                  19-50314
Michael Skurich, Joyce Skurich                                                    19-50315
Donald Wanner, Ladonna Wanner                                                     19-50316
Floyd G Davis, Lavonne J. Davis                                                   19-50317
Michael R. Grube, Vicki L. Grube                                                  19-50318
George T. Iwahiro, Charlene M. Iwahiro                                            19-50319
Thomas H. Haag, Joanne P. Haag                                                    19-50320
Kermit L. Jusczak, Nancy D. Jusczak                                               19-50321
Toomas Heinmets, Pamela Heinmets                                                  19-50322
Richard E. Attig, Stephanie L. Attig                                              19-50325
Jolene Bishop                                                                     19-50326
Jason Curtis                                                                      19-50327
Janet V. Dues                                                                     19-50328
Dena Falkenstein                                                                  19-50329
Judy Karen Goodin                                                                 19-50330
Dennis W. Hueth                                                                   19-50331
Christian Lester                                                                  19-50332
Denise Levesque                                                                   19-50333
Joseph Lin                                                                        19-50334
Jane Marshall                                                                     19-50335
Blair Morris                                                                      19-50336
Laurence J. Nakasone                                                              19-50337
Blaine Phillips                                                                   19-50338
Joel Reinert                                                                      19-50339
George Edward Sargent                                                             19-50340
Jeff Schuster                                                                     19-50341
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Jennifer Tom                                                                        19-50342
Anita Bedoya, Mark Bedoya                                                           19-50343
Anita Bedoya, Julian Duran                                                          19-50344
Robert Brueckner                                                                    19-50345
Ronald Cole                                                                         19-50346
Ronald Draper                                                                       19-50347
Monica Greene                                                                       19-50349
Stephen B. Moore                                                                    19-50350
Lawrence J. Paynter                                                                 19-50351
Nannette Tibbitts                                                                   19-50353
Virginia H. Vatter                                                                  19-50354
Zhaoxia Zeng                                                                        19-50355
Ascensus, LLC, Custodian for the Benefit of Claro Chen IRA, Claro Chen              19-50558
Mainstar Trust, Custodian for the Benefit of Marie Podkowinski, Marie               19-50559
Podkowinski
Ascensus, LLC, Custodian for the Benefit of James R. Dunning IRA, James R.          19-50562
Dunning
Mainstar Trust, Custodian for the Benefit of Diana Sehl, Diana Sehl                 19-50564
Ascensus, LLC, Custodian for the Benefit of Donald L. Engle Jr. IRA, Donald L.      19-50566
Engle Jr.
Mainstar Trust, Custodian for the Benefit of Lorie Gorman, Lorie Gorman             19-50567
Mainstar Trust, Custodian for the Benefit of Sharon L. Miller, Sharon L. Miller     19-50568
Mainstar Trust, Custodian for the Benefit of Daniel K. Gwinn, Daniel K. Gwinn       19-50571
Mainstar Trust, Custodian for the Benefit of Stephen Weinberg, Stephen Weinberg     19-50573
Ascensus, LLC, Custodian for the Benefit of Klenell Jensen Inherited IRA, Klenell   19-50575
Jensen
IRA Services Trust Company, Custodian for the Benefit of James C. Chang, James      19-50576
C Chang
Mainstar Trust, Custodian for the Benefit of John Korbierecki, John Korbierecki     19-50578
IRA Services Trust Company, Custodian for the Benefit of Dwight L. Atherton         19-50581
IRA, Dwight L Atherton
Ascensus, LLC, Custodian for the Benefit of Deborah J. Murphy IRA, Deborah J.       19-50583
Murphy
IRA Services Trust Company, Custodian for the Benefit of Jerry D. Ainsworth         19-50585
IRA, Jerry D Ainsworth
Ascensus, LLC, Custodian for the Benefit of Larry A. Norton IRA, Larry A.           19-50586
Norton
IRA Services Trust Company, Custodian for the Benefit of Ivan Orr, Ivan Orr         19-50588
Ascensus, LLC, Custodian for the Benefit of Peddada Family Trust ICA, Tarakam       19-50591
Peddada
IRA Services Trust Company, Custodian for the Benefit of Shuang Huo IRA,            19-50592
Shuang Huo
Ascensus, LLC, Custodian for the Benefit of Patricia Simmons IRA, Patricia          19-50594
Simmons
Ascensus, LLC, Custodian for the Benefit of Thomas A. Thorson IRA, Thomas A.        19-50596
Thorson
IRA Services Trust Company, Custodian for the Benefit of Michael D. Loring          19-50597
IRA, Michael D Loring



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Ascensus, LLC                                                                        19-50600
dba Provident Trust Group, Custodian for the Benefit of Marie Walters-Gill IRA;
Marie Walters-Gill IRA
Mainstar Trust, Custodian for the Benefit of Cheri H. Werth; Cheri H. Werth          19-50602
Ascensus, LLC, Custodian for the Benefit of Sheryl A. Whitlock IRA, Sheryl A.        19-50604
Whitlock
Ascensus, LLC, Custodian for the Benefit of Catherine Williams IRA, Catherine        19-50606
Williams
Ascensus, LLC, Custodian for the Benefit of Elizabeth A. Janovsky IRA, Elizabeth     19-50700
A. Janovsky
Paul Stehnach, Raymond Carioscia                                                     19-50702
Roy J. Ellenberg, in his capacity as Trustee of the Roy J. Ellenberg Trust Dated     19-50733
07/19/03, Roy J. Ellenberg
Tommy D. Trout, in his capacity as Trustee of the Tommy D. & Janet K. Trout          19-50734
Trust, Tommy D. Trout, Janet K. Trout
Paul F. Happersett, in his capacity as Trustee of the Paul F. Happersett Revocable   19-50735
Living Trust Agreement Dated 07/15/98, Paul F. Happersett
Thien Yew Ng, in his capacity as Trustee of the Ng Living Trust, Thien Yew Ng        19-50736
and Eng Ng
Vicki L. Wickwire, in her capacity as Trustee of the Pauline A. Conley Irrevocable   19-50738
Trust, Pauline A. Conley
Michael Reszewski, in his capacity as Trustee of the Reszewski Revocable Living      19-50739
Trust Dated 11/18/14, Michael Reszewski
Sumner Abramson, in his capacity as Trustee of the Sumner Abramson Revocable         19-50740
Living Trust, Sumner Abramson
Anthony Arthur Meola Jr., in his capacity as Trustee of the Anthony Arthur Meola     19-50741
Jr. 2008 Trust, Anthony Arthur Meola Jr.
Nanci Braun, in her capacity as Trustee of the Nanci Braun Revocable Living Trust    19-50742
Date 06/21/10, Nanci Braun
Bonnie Gae Grieff, in her capacity as Trustee of the Bonnie Gae Grieff Family        19-50743
Trust dates 12/04/06, Bonnie Gae Grieff
Terry B. Griffin, in his capacity as Trustee of the Griffin Family Trust, Terry B.   19-50744
Griffin
Diane Jean Kirvan, in her capacity as Trustee of the Florida Fradette Irrevocable    19-50746
Trust, Florida Fradette
Dale I Brinkerhoff, in his capacity as Trustee of the Dale I Brinkerhoff Family      19-50747
Trust, Dale I Brinkerhoff
Mainstar Trust, Custodian for the                                                    19-50749
Benefit of Robert J. Duenckel, Robert J Duenckel, Arlene R
Duenckel
Mainstar Trust, Custodian for the                                                    19-50750
Benefit of Timothy Hawley, Timothy Hawley
Mainstar Trust, Custodian for the                                                    19-50751
Benefit of Ronald R. Smith, Ronald R Smith
Irmgard Herrmann                                                                     19-50752
Jose Reta                                                                            19-50755
Christ Temple Baptist Church                                                         19-50756
Thomas V. Rasmussen, in his                                                          19-50757
Capacity as Trustee of the Thomas V. & Georgia S.
Rasmussen Family Living Trust, Thomas V Rasmussen,


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Georgia S Rasmussen
Ascensus, Custodian for the                                                         19-50758
Benefit of Gerald Davis IRA, Gerald Davis
Ascensus, LLC, Custodian for                                                        19-50760
the Benefit of John B. Smith IRA, John B Smith
Douglas M. Brunner, in his capacity as Trustee of the Radiant Trust, Douglas M.     19-50762
Brunner
RMG Property III LLC                                                                19-50763
Kurt Sickles, in his Capacity as a Sole Proprietor of the Defined Benefit Pension   19-50764
Plan and Trust, Kurt Sickles
Phillip Ball (aka Larry Ball)                                                       19-50913
Michael Kandravi                                                                    19-50914
Maxwell Financial Group, Inc., Rosemary Malmstedt                                   19-50915
JRH Marketing, Inc.                                                                 19-50916
Kim Butler                                                                          19-50917
Joseph Rubin Inc., a New York corporation, Joseph Rubin                             19-50918
A Team Approach, LLC                                                                19-50919
Mark Goldfinger                                                                     19-50920
All Mark Insurance Services, Inc., Cameron Johnson                                  19-50921
Chris Dantin Financial Services, LLC, Chris A. Dantin, Sr.                          19-50922
Lighthouse Wealth Management Group, Inc.                                            19-50923
Life Plan Advisors Inc.                                                             19-50924
Bradford Solutions, LLC, Marcus Bray                                                19-50925
David A. Scholl                                                                     19-50926
Danny Van Houten                                                                    19-50927
Christopher Longworth                                                               19-50928
Asset Management Consultants of NC, Inc., Carlton Scott Phillips                    19-50929
Annua Group LLC                                                                     19-50930
Retirement Services LLC                                                             19-50931
Robert M. Linderman                                                                 19-50932
Old Security Financial Group Inc.                                                   19-50933
Prestige Insurance Services, LLC                                                    19-50934
Richmond Wealth Management LLC, Scott Lane, Lane Financial Strategies LLC           19-50935
Thomas Doherty                                                                      19-50936
Vlchetr Thong                                                                       19-50937
Jerome Schwartz, Associated Insurance Group, Incorporated                           19-50938
Ron Pontremoli, Carol A. Pontremoli, Ann C. Sramek                                  19-50939
Roger L. Owens, Jennifer M. Lepore                                                  19-50940
Edu. Wealth Advisors LLC, Roger Dobrovodsky                                         19-50942
David Johnston                                                                      19-50943
Eric Little                                                                         19-50944
Frontier Advisors Group LLC, David Nichols                                          19-50945
Jonathan Froude                                                                     19-50946
John Fagan                                                                          19-50947
Dayspring Advisors Group LLC, Ronnie Weller                                         19-50948
DDI Advisory Group, LLC, Richard Dean                                               19-50949
Harvey & Companies, Inc., Ronald J. Harvey                                          19-50950
Ivy League College Planning Strategies, Inc., Michael Rappa                         19-50951
James Lamont                                                                        19-50952


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Jessica J. Hotchkiss                                                              19-50953
Gary L. Burke                                                                     19-50954
Positions Benefits, LLC, Charles N. Nilosek                                       19-50955
Mainstar Trust, Administrator and Custodian for the Benefit of Stacey Renee       19-50956
Maxted T2176604, Stacey Renee Maxted, Gerbera, LLC
Morgan J. Commodore                                                               19-50957
Gregg W. Butler                                                                   19-50958
Patrick Gatbonton                                                                 19-50959
Integrity Plus Consulting, Inc., Sean P. Renninger                                19-50960
Darin Baker                                                                       19-50961
Jeffrey DeAngelis                                                                 19-50962
Peter Derienzo                                                                    19-50963
Gerard J. O'Neill                                                                 19-50964
James E. Campbell Jr. Inc. (d/b/a Campbell Financial Corp.), and James E.         19-50965
Campbell, Jr.
Dime Strategies, Inc. and Ronald P. Diez                                          19-50966
Talbert Wealth, Inc. and Steven Glick                                             19-50967
Ascensus, LLC d/b/a Provident Trust Group, Custodian for the Benefit of Geneva    19-50968
W. Guilbeaux IRA; Diana Engelhardt, Solely in her Capacity as Executrix to the
Estate of Geneva W. Guilbeaux; Diana Engel Solely in her Capacity as Executrix
to the Estate of Charles D. Guilbeaux
Ascensus, LLC d/b/a Provident Trust Group, Administrator And Custodian For        19-50969
The Benefit Of Brett Pittsenbargar Solo K; Ascensus, LLC d/b/a Provident Trust
Group, Administrator And Custodian For The Benefit Of Hillarry A. Pittsenbargar
Solo K; Ascensus, LLC d/b/a Provident Trust Group, Administrator And Custodian
For The Benefit Of Brett Pittsenbargar HSA; Brett Pittsenbargar; Hillarry A.
Pittsenbargar, AKA Hillary A. Pittsenbargar
RH Principled Investments, and Raymond Han                                        19-50970
Thomas Masztak                                                                    19-50971
Jacob A. Weiss                                                                    19-50972
David Keledjian                                                                   19-50973
Harold Plain                                                                      19-50974
David Roitfarb                                                                    19-50975
Joseph W. Isaac                                                                   19-50976
Randy Robertson                                                                   19-50977
Joseph A. Loox                                                                    19-50978
Matthew Lorenc                                                                    19-50979
Donovan Knowles                                                                   19-50980
Gregory Jandt                                                                     19-50981
Albert Payne                                                                      19-50982
The Three Fourteen Company, Andres Pina                                           19-50983
Fadi M. Hawary                                                                    19-50984
Gregory Neal Johnson                                                              19-50985
Jacqueline Suarez                                                                 19-50986
Joseph D. Salvemini                                                               19-50987
Hernan Alexis Moran Mercado                                                       19-50988
James A. Klohn & Assoc., P.A.                                                     19-50989
NAA Insurance Agency, Corp.                                                       19-50990
The Boylan Group, Inc., John Boylan                                               19-50991



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Shanoid A. Mays                                                                       19-50993
Safe Money Investing, Inc.                                                            19-50994
Queen B Services                                                                      19-50995
Reliant Group 360 Corp.                                                               19-50996
Matthew Gilchrist                                                                     19-50997
John J. McNamara                                                                      19-50998
John E. McEnerney                                                                     19-50999
David Valencia, Valencia Financial Services, LLC                                      19-51000
Richard I. Yamate-Morgan                                                              19-51001
Bette Tydings                                                                         19-51002
Ricki Dean Wiggs a/k/a Ricki Wiggs                                                    19-51003
Retirement Planning Solutions, LLC, Gordon Hannah                                     19-51004
Daniel P. Orfin                                                                       19-51005
Dennis Drake, Mid-Atlantic Brokers, Inc.                                              19-51006
Dan Reisinger                                                                         19-51007
Richard Anthony Miller                                                                19-51008
Bruce Moore                                                                           19-51009
Gold King International Inc. and Justin M. Matherne                                   19-51010
Harris Financial Management and John G. Harris                                        19-51011
Gaulan Financial LLC                                                                  19-51012
Gene H. Langenberg                                                                    19-51013
Lane Ginsberg                                                                         19-51014
Yanitsha M. Feliciano                                                                 19-51015
Legacy Financial Network and Retirement Services, Inc. and Jeffrey Nimmow             19-51016
Ronaldo G. Espiritu                                                                   19-51017
William Deaton                                                                        19-51019
Security Financial, LLC, Ameritrust Advisors of SC, LLC, Mosley & Associates,         19-51020
Inc.
Michael Robinson                                                                      19-51021
Searchlight Financial Advisors, LLC, Caroline Rakness                                 19-51022
Safe Money Broadcasting, LLC, Michael P. Litwin                                       19-51023
Ascensus, LLC d/b/a Provident Trust Group, Custodian for the Benefit of Thomas        19-51024
S. Cardosi IRA; Thomas S. Cardosi
Michael A. Trujillo                                                                   19-51025
Theresa Sheridan                                                                      19-51026
Kenneth Halbert                                                                       19-51027
Roxanne Trent                                                                         19-51028
Safety of Principle, Inc.                                                             19-51029
Security First Financial, LLC, Jerald Kagarise                                        19-51030
Smithson Financial Group LLC, Todd Smithson                                           19-51032
Ascensus, LLC d/b/a Provident Trust Group, Custodian For The Benefit Of The           19-51033
Gerald Entine 1988 Family Trust; Steven Entine, In His Capacity As Trustee Of
The Victoria Entine 1984 Trust; Steven Entine
Alfred S. Malianni, In His Capacity As Co-Trustee Of The Alfred S. And Gail E.        19-51034
Malianni Revocable Living Trust January 15, 2011; Gail E. Malianni, in her
capacity as co-trustee of the Alfred S. and Gail E. Malianni Revocable Living Trust
January 15, 2011; Alfred S. Malianni; Gail E. Maliani
JP Snyder, Inc.                                                                       19-51035


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Alternative Portfolio Solutions LLC and Richard Renshaw                          19-51036
Annuity Alternatives of America, LLC                                             19-51037
Glen D. Barnes                                                                   19-51038
Basic Financial Services Inc., Basic Wealth Advisors, Inc., Fred C. Johnson      19-51039
Jace T. McDonald, Adams EZ Tax, LLC                                              19-51040
Better Returns LLC, Tim McGuire                                                  19-51041
TWH Annuities & Insurance Agency, Inc., Gryphon Financial Services               19-51042
Sycamore Group, Inc., Bender W. Mackey                                           19-51043
Crosier Financial, Inc., d/b/a Crosier Financial, John Reed Crosier              19-51045
Uma Gajavada                                                                     19-51046
Jay N. Brown                                                                     19-51047
Robert Biscardi Jr.                                                              19-51048
Arash Tashvighi                                                                  19-51049
Ascensus, LLC, Administrator and Custodian for the Benefit of Christopher M.     19-51050
Soulier Roth IRA, Christopher M. Soulier
Barbara A. Weiser, Jay R. Weiser                                                 19-51051
Ascensus, LLC, Administrator and Custodian for the Benefit of Qun Hong Yin       19-51052
Roth IRA, Qun Hong Yin, Qun Hong Yin, as Trustee of the Qun Hong Domissy
Yin Living Trust
Trager, L.L.C.                                                                   19-51054
Vickie A. Costello                                                               19-51055
Floyd E. Powell                                                                  19-51056
Faithway Financial Solutions LLC                                                 19-51057
Tangible Assets Investments, LLC, Charles Thorngren                              19-51058
Lane Financial Strategies LLC, Richmond Wealth Management LLC, Scott Lane        19-51059
American Prosperity LLC, Taylor Ogden                                            19-51060
Shelburne Management, LLC, Dennis Carpenter                                      19-51061
Wieniewitz Financial LLC, Trae Wieniewitz                                        19-51062
Sesco Benefit Services, Inc., Peter Holler                                       19-51064
BCM Benefits Inc., Rance Bradshaw                                                19-51065
To The Max Marketing, Inc.                                                       19-51066
Structured Strategies, LLC, Alan K. Hoffman                                      19-51067
S.J. Financial Services, L.L.C., Glenn Johnson                                   19-51068
Deb Brundage                                                                     19-51069
Forecast Financial Group LLC, Forrest Financial LLC, Gary Forrest                19-51070
Eduardo G. Diaz, Diaz Retirement Consultants                                     19-51071
Prestige Wealth Management, Inc.                                                 19-51072
Arbuckle Management LLC                                                          19-51074
Matthew Schwartz, Matte Black Inc.                                               19-51077
Scott Schwartz, Up and Coming Capital, LLC, Up and Coming, LLC                   19-51078
Albert D. Klager, Atlantic Insurance & Financial Services Inc.                   19-51079
Ascensus, LLC, Custodian for the Benefit of Gail Marie Bush IRA, Gail Marie      19-51133
Bush, Gail Marie Bush as Trustee of the Gail Marie Bush Trust Dated 12/21/2001
Vipinbhai D. Patel, Saroj Patel                                                  19-51134
Guy R. Burningham                                                                19-51135
IRA Services Trust Company, Custodian for the Benefit of Richard Derf Sep IRA,   19-51136
Richard Derf
Greg Horning, Cari Horning                                                       19-51137




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Harry R. Culotta, in his Capacity as Trustee of the Harry R. Culotta Trust Dated   19-51138
11/16/16, Harry R. Culotta
Carol D. Hartson                                                                   19-51139
FIC, LLC                                                                           19-51140
Mainstar Trust, Custodian for the Benefit of Clifton A. Johnson, Clifton A.        19-51142
Johnson
Brian Scott, Margaret Scott                                                        19-51143
Kevin Martin                                                                       19-51144




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